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                         UNITED STATES DISTRICT COURT                                            Clear Form
                        NORTHERN DISTRICT OF CALIFORNIA

Nuance Communications, Inc.
                                                   CASE NO. C 08-02912 JSW
                        Plaintiff(s),

                v.                                  STIPULATION AND [PROPOSED]
ABBYY Software House, ABBYY USA                     ORDER SELECTING ADR PROCESS
Software House, Inc., and Lexmark
International, Inc.
                  Defendant(s).
_______________________________/

       Counsel report that they have met and conferred regarding ADR and have reached the
following stipulation pursuant to Civil L.R. 16-8 and ADR L.R. 3-5:

The parties agree to participate in the following ADR process:

        Court Processes:
        9     Non-binding Arbitration (ADR L.R. 4)
        9     Early Neutral Evaluation (ENE) (ADR L.R. 5)
        9     Mediation (ADR L.R. 6)

(Note: Parties who believe that an early settlement conference with a Magistrate Judge is
appreciably more likely to meet their needs than any other form of ADR, must participate in an
ADR phone conference and may not file this form. They must instead file a Notice of Need for
ADR Phone Conference. See Civil Local Rule 16-8 and ADR L.R. 3-5)

        Private Process:
        ✔
        9      Private ADR (please identify process and provider) ______________________
                                                                  Mediation. JAMS.

_____________________________________________________________________________

The parties agree to hold the ADR session by:
       9       the presumptive deadline (The deadline is 90 days from the date of the order
               referring the case to an ADR process unless otherwise ordered. )

        9
        ✔       other requested deadline _____________________________________________
                                         No later than February 2009



Dated:___________
       9/8/08                                              ____________________________
                                                           /s/ Tung-On Kong
                                                           Attorney for Plaintiff

Dated:____________
       9/8/08                                              ____________________________
                                                           /s/ Grant Kinsel /s/ Eugene Feher
                                                           Attorney for Defendant
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When filing this document in ECF, please be sure to use the appropriate ADR Docket
Event, e.g., "Stipulation and Proposed Order Selecting Early Neutral Evaluation."
[PROPOSED] ORDER

      Pursuant to the Stipulation above, the captioned matter is hereby referred to:
      9     Non-binding Arbitration
      9     Early Neutral Evaluation (ENE)
      9
      ✔     Mediation
      9     Private ADR

      Deadline for ADR session
      9      90 days from the date of this order.
      ✔
      9      other ___________________
                    No later than Feb. 2009



IT IS SO ORDERED.


Dated:________________                              ___________________________________
       September 10, 2008
                                                    UNITED STATES DISTRICT             JUDGE
